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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

UNITED STATES OF
AMERICA,

               Plaintiff,

v.                                                                     No. 05-20377-B

ANDERSON SHANNON,

            Defendant.
_____________________________________________________________________________

    ORDER DENYING WITHOUT PREJUDICE THE DEFENDANT’S “MOTION FOR
          EMERGENCY FURLOUGH PURSUANT TO 18 U.S.C. § 3622(a)(2)”
_____________________________________________________________________________

       On July 31, 2007, the Defendant, Anderson Shannon, who is represented by counsel, filed,

pro se, a “Motion for Emergency Furlough” based upon the death of his mother. However, a litigant

who is represented by counsel has no constitutional right to demand that the Court also consider pro

se arguments, pleadings or motions. See United States v. Edwards, 101 F.3d 17, 19 (2d Cir. 1996);

Ennis v. LeFevre, 560 F.2d 1072, 1075 (2d Cir. 1977); cf. Burgs v. Johnson County, Iowa, 79 F.3d

701, 702 (8th Cir. 1996) (holding that prisoner represented in civil case by counsel could not rely on

the filing by mail rules of Houston v. Lack, 487 U.S. 266 (1988), applicable to pro se inmates).

Furthermore, 28 U.S.C. § 1654, the statute governing the manner in which parties may appear in

federal court, is specifically phrased in the disjunctive: “the parties may plead and conduct their own

cases personally or by counsel . . . .” Accordingly, Plaintiff shall, while represented by counsel, file

no further documents of any sort except through his attorney.

       Therefore, the Defendant’s pro se “Motion for Emergency Furlough” is DENIED without

prejudice.
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     IT IS SO ORDERED this 2nd day of August, 2007.

                                s/ J. DANIEL BREEN
                                UNITED STATES DISTRICT JUDGE




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